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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA )
                         )
     v.                  )                            Cr. No. No. 21-cr-10158-MLW
                         )
ALESSANDRO Da FONSECA,   )
     Defendant.          )


             DEFENDANT’S MOTION TO CONTINUE RULE 11 HEARING

       Now comes Defendant, Alessandro Da Fonseca, by his counsel, respectfully requests that

this Court continue the Rule 11 hearing currently scheduled for August 23, 2022 to another date

convenient to the Court and the government during the week of September 12th, 2022 (or in the

weeks that follow). In support, the defendant states that defense counsel and the defendant have

conducted multiple meetings over the past month to prepare for the August 23rd hearing and

counsel has also spoken on several occasions with the Government regarding the anticipated

plea. Despite diligent efforts, there remain issues, identified and raised today, which would make

a plea premature. Defense counsel respectfully requests that the hearing be rescheduled to a date

in the week of September 12th, 2022 which counsel believes is sufficient time to resolve the

remaining matters. If this week is not convenient to the Court counsel requests a date sometime

after that week. The Government takes no position on the requested continuance. The Defendant

respectfully requests that the Court exclude the time until the Rule 11 hearing in the interests of

justice. Additional information in support of this motion is included in the attached affidavit.




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                                                     Respectfully Submitted
                                                     Defendant Alessandro Da Fonseca
                                                     By his attorney,

                                                     /s/ Jessica D. Hedges
                                                     Jessica D. Hedges (BBO No. 645847)
                                                     HEDGES & TUMPOSKY LLP
                                                     50 Congress St., Suite 600
                                                     Boston, MA 02109
                                                     T)617/722-8220


                                CERTIFICATE OF SERVICE

        I, Jessica D. Hedges, hereby certify that on this 22nd day of August, 2022, I served one
true and correct copy of this motion, through the electronic filing system, on all counsel of record
in this matter.

                                                             /s/ Jessica Hedges
                                                             Jessica D. Hedges




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